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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

     CHRISTOPHER DOLCE, SHINAIDE
     MCALEAVEY-POLLEY, and SARAH
     ECKE,
                                                           MEMORANDUM & ORDER
                       Plaintiffs,                            24-CV-00622 (HG)
                 v.

     CONNETQUOT CENTRAL SCHOOL
     DISTRICT, CONNETQUOT BOARD OF
     EDUCATION, LYNDA G. ADAMS, REZA
     KOLAHIFAR, JACLYN NAPOLITANO-
     FURNO, LEE KENNEDY, MICHAEL
     MORAN,

                       Defendants.


 HECTOR GONZALEZ, United States District Judge:

         Plaintiffs 1 bring this employment discrimination action regarding actions and policies

 implemented by Defendants at the Connetquot Central School District (the “District”). ECF

 No. 14 ¶ 1 (Amended Complaint). Plaintiffs assert 18 causes of action, which include: federal

 claims of discrimination, retaliation, publishing discriminatory notices, sex-based harassment,

 First Amendment violations, and Fourteenth Amendment violations; and state claims of

 discrimination, retaliation, hostile work environment, circulating discriminatory statements, and

 aiding and abetting discrimination. Id. ¶¶ 132–278. Currently pending before the Court is

 Defendants’ motion to dismiss the Amended Complaint. See ECF No. 24 (Motion to Dismiss).

 Plaintiffs oppose, see ECF No. 41 (Opposition), and Defendants have filed a reply in further



 1
         New York LGBT Network, Inc., (“LGBT Network”) was originally included as a
 Plaintiff in this case. See ECF No. 14. However, that party was dismissed pursuant to a
 stipulation of dismissal among the parties. See ECF No. 55 (Stipulation of Dismissal).
 Accordingly, the Court does not address the parties’ arguments with respect to whether LGBT
 Network has standing in this case.
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 support of their motion, see ECF No. 42 (Reply). For the reasons set forth below, Defendants’

 motion is granted as to Plaintiffs’ federal claims, and the Court declines to exercise supplemental

 jurisdiction over Plaintiffs’ state law claims.

                                           BACKGROUND

         The Court “recite[s] the substance of the allegations as if they represent[] true facts, with

 the understanding that these are not findings of the [C]ourt, as [I] have no way of knowing at this

 stage what are the true facts.” In re Hain Celestial Grp., Inc. Sec. Litig., 20 F.4th 131, 133 (2d

 Cir. 2021). 2

         Plaintiffs Christopher Dolce, Shinaide McAleavey-Polley, and Sarah Ecke, who are

 “open members of the LGBTQ+ community,” are employees of the District. ECF No. 14 ¶¶ 30,

 34. They are also teachers and/or club advisors at Connetquot Central High School. Id. ¶ 31.

 During the relevant time period, Defendant Lynda G. Adams was the Superintendent of the

 District and Defendant Reza Kolahifar was the Assistant Superintendent. Id. ¶¶ 43, 46.

 Defendant Jaclyn Napolitano-Furno was the President of the District’s Board of Education (the

 “Board”), and Defendant Lee Kennedy was a Trustee of the Board. Id. ¶¶ 42, 49, 52. Defendant

 Michael Moran was the Principal of Connetquot Central High School. Id. ¶ 55.

         Plaintiff Ecke’s classroom is the designated meeting space for the Gay Straight Alliance

 (“GSA”) club at the school. Id. ¶ 61. On September 14, 2022, Defendants Adams, Napolitano-

 Furno, and Kennedy conducted an unannounced inspection of Ecke’s classroom. Id. ¶ 60. These

 Defendants informed Ecke that if she did not remove the progress pride flag displayed in her

 classroom, they would “implement a policy whereby not just the Progress Pride Flag, but all



 2
         Unless otherwise indicated, when quoting cases and the parties’ papers, all internal
 quotation marks, alteration marks, emphases, footnotes, and citations are omitted. The Court
 refers to the pages assigned by the Electronic Case Files system (“ECF”).

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 Pride Flags, would be removed from the GSA Room.” Id. ¶ 62 (emphasis in original). On

 September 16, 2022, Ecke told Plaintiffs Dolce and McAleavey-Polley about the potential new

 policy. Id. ¶ 63. On October 4, 2022, Dolce and Ecke emailed the Board requesting to meet

 with Board members “to discuss the issue of the pride flags” because they believed “any

 restriction on the flag would be detrimental to [the] students and costly to the [D]istrict.” Id.

 ¶ 65; ECF No. 41-1 (Oct. 4, 2022, Ecke Email). 3

        Later that day, 4 Defendant Kolahifar circulated an email to the school’s faculty

 “remind[ing]” them of the District policy of not engaging “in any active political practices that

 would exclude any student or make any individual feel uncomfortable.” ECF No. 14 ¶ 73; ECF

 No. 14-2 at 1 (Oct. 4, 2022, Kolahifar Email). Because this included “flags denoting political

 views,” the email instructed that the “only flags that should be hung in a classroom or office are

 the American Flag and the [New York State] Flag,” (“Political Practices Policy”). ECF No. 14-2

 at 1. On October 6, 2022, Defendant Adams sent another email to the faculty informing the staff

 that a particular teacher was asked to remove the progress pride flag from a classroom after

 students reported feeling uncomfortable about the flag being displayed. ECF No. 14-3 at 1

 (Oct. 6, 2022, Email). The email also indicated that the District offered, in place of the flag, a

 sign that said, “This is a safe space to be who you are,” but the teacher refused the offer. Id. The

 email further informed the staff that because this teacher refused to remove the flag, the

 District’s preexisting “Policy 1310” now must be fully implemented. Id. “Policy 1310” “states


 3
          “In considering a motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6),
 a district court may consider the facts alleged in the complaint, documents attached to the
 complaint as exhibits, and documents incorporated by reference in the complaint.” DiFolco v.
 MSNBC Cable LLC, 622 F.3d 104, 111 (2d Cir. 2010). The Court therefore considers the
 exhibits attached to the Amended Complaint in considering Defendants’ motion to dismiss.
 4
      The Amended Complaint incorrectly states that this email was sent on October 5, 2022.
 ECF No. 14 ¶ 73.

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 that school employees shall not engage in political activities on school premises.” Id. Plaintiffs

 allege that Ecke was the teacher referenced in that email. ECF No. 14 ¶ 74. On October 7, 2022,

 Defendant Moran re-circulated the email detailing the Political Practices Policy to faculty and

 staff and directed all staff to “remove all non[-] American/NYS flags” by the end of the day.

 ECF No. 14-4 at 1 (Oct. 7, 2022, Email). Exempted from the policy were flags related to the

 curriculum taught in the classroom, “i.e. Italian Flag in Italian Class.” Id. All pride flags and

 progress pride flags, including the two displayed in Ecke’s classroom, were then removed from

 the District. ECF No. 14 ¶ 76. On October 11, 2022, the Board held a meeting during which the

 Political Practices Policy was discussed. Id. ¶ 77. During the meeting, Plaintiffs, along with

 others, attended a rally organized by LGBT Network, which opposed and protested the Political

 Practices Policy (“LBGT Rally”). Id. ¶ 78.

        On October 15, 2022, Plaintiffs Dolce and McAleavey-Polley discovered that stickers on

 the doors to their classrooms that had depicted the pride flag had been replaced with stickers

 depicting the American Flag (the “Sticker Replacement Incident”). Id. ¶ 84. The next day,

 Dolce and McAleavey-Polley orally reported the Sticker Replacement Incident to Defendant

 Moran. Id. ¶ 85. A day later, Moran told Dolce and McAleavey-Polley that the student

 responsible for the Sticker Replacement Incident had been identified by surveillance footage and

 would be suspended for three days. Id. ¶ 91. Plaintiffs allege that they believe Defendant

 Adams overturned the decision to suspend the student on the following day. Id. ¶ 92. That same

 day, Moran circulated an email to the school’s staff noting that “no ‘flag stickers’ can be placed

 on doors or windows of [the] classroom or office and need to be removed.” (“Sticker Policy”

 together with the Political Practices Policy, the “District Policies”). ECF No. 14-5 at 1 (Oct. 18,

 2022, Moran Email). Later that day, Plaintiff Dolce emailed Defendant Adams indicating that he



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 has been “heartbroken by the state of [the] [D]istrict.” ECF No. 14-6 at 2 (Oct. 18, 2022, Dolce

 Email). Dolce explained that “[r]ainbows and pride flags ha[d] been present at Connetquot

 [High School] as long as [he could] remember,” but recent events, including the “overturning of

 the relevant disciplinary matter,” caused him to “no longer feel safe at Connetquot schools.” Id.

 Dolce urged that the “most vulnerable students” needed help from Adams. Id. at 3.

        On October 20, 2022, Plaintiffs reported the recent events to the Connetquot Teachers’

 Association (“CTA”). ECF No. 14 ¶ 100. Thereafter, the President of CTA, Tony Felicio,

 contacted Adams seeking clarification about the Sticker Policy. ECF No. 14-7 at 2 (Oct. 27,

 2022, Email). Adams responded that “[s]tickers should not be placed on public property, unless

 they were purchased by the [D]istrict and placed specifically for a purpose.” Id. Plaintiffs allege

 that “[f]lags, stickers and other forms of symbolic speech . . . had been permitted . . . for many

 years prior to the Removal Polices and the events complained of herein” and that for at least five

 years prior to the District Policies, teachers were permitted to express free speech by decorating

 their walls and doors of their classrooms. ECF No. 14 ¶¶ 103–04.

        Plaintiffs allege that the District Policies were not strictly enforced, and that there were

 painted depictions of various flags that were permitted in the school parking lot. Id. ¶ 106(a).

 Some of the flags depicted included the “Blue Lives Matter flag, a Mexican flag . . ., a derivative

 of the American flag that included the year ‘1776,’ and a neo-Nazi / neo-confederate flag.” Id.

 There was also a French flag that hung in the French classroom, and professional sports team

 flags hung at the school. Id. ¶¶ 106(b), (e). Plaintiffs also allege other categories of speech were

 permitted such as: (i) the “acronym ‘MAGA,’ representing . . . President Donald Trump’s

 campaign slogan ‘Make America Great Again,’” painted in the school parking lot, id. ¶ 106(c);

 (ii) stickers on classroom doors and bulletins supporting organizations such as “Students Against



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 Drunk Driving,” and “Anti-Bullying Club,” id. ¶ 106(d); (iii) a “[p]rominent 9/11 Memorial

 display in the Oakdale Bohemia Middle School,” id. ¶¶ 106(f), 112–13; 5 and (iv) religious

 jewelry such as “Christian Crucifix” worn by teachers, students and the District’s staff, id.

 ¶ 106(g).

        On February 17, 2023, graffiti was discovered on a wall at the school that said “F*ck

 Gays.” Id. ¶ 108. The incident was investigated by the Suffolk County Police Department. Id.

 ¶ 109. Plaintiffs allege Defendants did not discipline the individuals who painted the graffiti,

 despite Defendants being aware that these individuals had painted other anti-LGBTQ graffiti on

 the walls of the school on three separate occasions. Id. ¶¶ 110–11.

        Around May 2023, Plaintiff Ecke distributed permission slips to students of the GSA club

 in advance of an annual trip to the LGBT Youth Conference (“GSA Trip”). Id. ¶ 115. The trip

 was scheduled for May 22, 2023. Id. Five days before the deadline for the permission slips to be

 returned, and 12 days before the trip, Defendant Moran notified Plaintiff Ecke that a “new, and

 more detailed, permission slip was now required for students to go on the GSA Trip.” Id.

 ¶¶ 117–18. On May 15, 2023, Defendant Moran sent a follow up email to Plaintiff Ecke

 reminding her that she needed to “send home an updated permission slip that included [the] full

 title and purpose of the trip.” ECF No. 14-9 at 2 (May 15, 2023, Email). Plaintiffs allege that,

 even though the District told Ecke that other permission slips for different trips would require the

 same information, she was the only teacher in the District who was required to modify the

 permission slip. ECF No. 14 ¶¶ 124–26.




 5
         The Court takes judicial notice that Oakdale Bohemia Middle School is within the
 District. See Oakdale-Bohemia Middle School, Connetquot Central School District,
 https://perma.cc/AY7P-YW96 (last visited Apr. 9, 2025).

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                                        LEGAL STANDARD

        “In order to survive a motion to dismiss, a plaintiff must plead ‘enough facts to state a

 claim to relief that is plausible on its face.’” Emilee Carpenter, LLC v. James, 107 F.4th 92, 99

 (2d Cir. 2024) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim is

 plausibly alleged ‘when the plaintiff pleads factual content that allows the court to draw the

 reasonable inference that the defendant is liable for the misconduct alleged.’” Matzell v.

 Annucci, 64 F.4th 425, 433 (2d Cir. 2023) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

 “In making this assessment, the court must accept as true all of the factual allegations set out in

 plaintiffs[’] complaint, draw inferences from those allegations in the light most favorable to

 plaintiff[s], and construe the complaint liberally.” VR Glob. Partners, L.P. v. Petróleos de

 Venezuela, S.A., No. 24-1176-cv, 2024 WL 4891271, at *2 (2d Cir. Nov. 26, 2024).

                                            DISCUSSION

        I.      Federal Discrimination Claims

        Employment discrimination claims are analyzed under the burden-shifting framework

 articulated in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). See Robinson v. MSG

 Ent. Grp., LLC, No. 23-cv-9366, 2024 WL 3938361, at *4 (S.D.N.Y. Aug. 26, 2024). The test

 requires Plaintiffs to first establish a prima facie case of discrimination. Id. “After a plaintiff

 makes this prima facie showing, it is then the defendant’s burden to proffer a legitimate non-

 discriminatory reason for its actions; the final and ultimate burden is on the plaintiff to establish

 that the defendant’s reason is in fact pretext for unlawful discrimination.” Id. On a motion to

 dismiss, Plaintiffs need only plead sufficient facts to establish a prima facie case, and the second

 and third steps of the McDonnell-Douglas framework are not considered. Id. at *5. Plaintiffs’




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 federal discrimination claims are brought under Title VII of the Civil Rights Act of 1964 (“Title

 VII”). ECF No. 14 ¶¶ 132–46 (Title VII); 156–60 (Discriminatory Notice).

                A.      Title VII - Discrimination

        “Title VII prohibits an employer from discriminating in ‘compensation, terms,

 conditions, or privileges of employment, because of an individual’s race, color, religion, sex or

 national origin.’” Littlejohn v. City of New York, 795 F.3d 297, 320 (2d Cir. 2015) (quoting 42

 U.S.C. § 2000-e(2)(a)(1)). “The Supreme Court has held that ‘homosexuality and transgender

 status are inextricably bound up with sex,’ and that ‘to discriminate on these grounds requires an

 employer to intentionally treat individual employees differently because of their sex.’” Cruz v.

 Bernstein Litowitz Berger & Grossman LLP, No. 20-cv-8596, 2023 WL 2691456, at *5

 (S.D.N.Y. Mar. 29, 2023) (quoting Bostock v. Clayton Cnty., 590 U.S. 644, 660–61 (2020)).

        To state a prima facie case of discrimination under Title VII, Plaintiffs must allege that:

 (1) they are members of a protected class; (2) they were qualified for the position; (3) they

 suffered an adverse employment action; and (4) the adverse employment action occurred under

 circumstances giving rise to an inference of discriminatory intent. Littlejohn, 795 F.3d at 311;

 Brown v. City of Syracuse, 673 F.3d 141, 150 (2d Cir. 2012). The parties do not dispute that

 Plaintiffs, as members of the LGBTQ+ community, are members of a protected class. Nor do

 the parties dispute that Plaintiffs were qualified for their positions. Rather, the parties dispute

 whether Plaintiffs suffered adverse employment actions, and if so, whether those adverse

 employment actions occurred under circumstances giving rise to an inference of discriminatory

 intent. ECF No. 26 at 22–24.

        “A plaintiff sustains an adverse employment action if he or she endures a materially

 adverse change in the terms and conditions of employment.” Vega v. Hempstead Union Free



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 Sch. Dist., 801 F.3d 72, 85 (2d Cir. 2015). Plaintiffs allege the adverse employment actions here

 included:

        (i) mandating removal of the Pride Flag; (ii) implementing a no-flag policy in
        response to the display of the Pride Flag; (iii) selectively enforcing its flag policy;
        (iv) being deliberately indifferent to the vandalism of pride stickers[;] and
        (v) placing burdens on plaintiff Ecke that were not placed on other teache[r]s who
        sent permission slips out.

 ECF No. 41 at 22. These allegations fail to rise to the level of adverse employment actions. “To

 be materially adverse, a change in working conditions must be more disruptive than a mere

 inconvenience or an alteration of job responsibilities.” Sanders v. N.Y.C. Human Res. Admin.,

 361 F.3d 749, 755 (2d Cir. 2004). “Examples of such a change include termination of

 employment, a demotion evidenced by a decrease in wage or salary, a less distinguished title, a

 material loss of benefits, significantly diminished material responsibilities, or other indices

 unique to a particular situation.” Id.

        None of Plaintiffs’ claims come close to alleging that their job responsibilities were

 altered in any way—Plaintiffs were not terminated, demoted, or given diminished material

 responsibilities. To the extent Plaintiffs argue that a heavier burden was placed on them by

 having to remove the pride flags and stickers, and on Ecke by having to modify the permission

 slip for the GSA Trip, such actions do not rise to the level of workload that is “disproportionately

 heavy” to “constitute an adverse employment action.” Kirkland-Hudson v. Mount Vernon City

 Sch. Dist., 665 F. Supp. 3d 412, 451–52 (S.D.N.Y. 2023) (finding allegations of increased

 workload did not constitute an adverse employment action). Although Plaintiffs may have

 preferred not to take down the flags and stickers, and Ecke did not wish to distribute the new

 permission slip, “simply being assigned undesirable work duties is insufficient to establish

 adverse employment action, since it does not have a material impact on the terms and conditions

 of [P]laintiffs[’] employment.” Castro v. City of New York, 24 F. Supp. 3d 250, 264 (E.D.N.Y.

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 2014). Similarly, Defendants’ enforcement of Policy 1310 and Defendants’ response to the

 vandalism of the flag stickers by a student are not actions that “materially change the terms and

 conditions of [Plaintiffs’] employment.” Cf. Vega, 801 F.3d at 89 (assigning teacher excessively

 noisy media center for one class, assigning teacher classroom with University of Puerto Rico

 banner above door, deactivating his password for school computer, and unsuccessfully

 attempting to transfer him were not adverse employment actions within the meaning of a

 plausible discrimination claim under Title VII). Indeed, the Amended Complaint does not allege

 that as a result of Defendants’ actions, Plaintiffs were “denied opportunities for career

 advancement, or indeed that [they] suffered any career impediment whatsoever.” Henry v.

 N.Y.C. Health & Hosp. Corp., 18 F. Supp. 3d 396, 405 (S.D.N.Y. 2014) (dismissing Title VII

 discrimination claims). Because the Court finds Defendants’ actions do not rise to the level of

 adverse employment actions, Plaintiffs’ Title VII discrimination claim necessarily fails, and it is

 therefore dismissed.

                B.      Title VII – Discriminatory Notices

        Plaintiffs also allege Defendants published discriminatory notices in violation of 42

 U.S.C. § 2000e-3(b). ECF No. 14 ¶¶ 156–60. Section 2000e-3(b) prohibits an employer from:

        Print[ing] or publish[ing] or caus[ing] to be printed or published any notice or
        advertisement relating to employment by any such employer . . . indicating any
        preference, limitation, specification, or discrimination, based on race, color,
        religion, sex, or national origin, except that such a notice or advertisement may
        indicate [such] a preference . . . when religion, sex, or national origin is a bona fide
        occupational qualification for employment.

 Plaintiffs allege that the emails discussing actions in accordance with Policy 1310 constitute

 “discriminatory notices” in violation of this section. ECF No. 14 ¶ 158. However, as

 Defendants correctly point out, this section does not apply to these types of notices. ECF No. 26

 at 28–29. Rather, the section has been interpreted to prohibit advertising a preference for job


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 applicants. See Univ. of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 356 (2013)

 (Section 2000e-3(b) prohibits as an unlawful employment practice “advertising a preference for

 applications of a particular race, color, religion, sex, or national origin.”); Cooper v. N.Y.S. Dep’t

 of Labor, 819 F.3d 678, 681 (2d Cir. 2016) (Section 2000e-3(b) “enumerat[es] as an unlawful

 employment practice the advertising of a preference for applicants based on race, color, religion,

 sex, or national origin.”). Plaintiffs do not allege that the emails circulated were notices for

 hiring job applicants. Rather, the emails notify already-hired employees about the

 implementation of the District Policies. ECF Nos. 14-2, 14-3, 14-4, 14-5. Notably, these notices

 did not condition any employee’s employment on the removal of the flags or stickers. Nor did

 the emails advertise an unlawful preference for a particular type of employee. Accordingly, the

 Court finds Plaintiffs have failed to state a claim under Section 2000e-3(b), and their

 discriminatory notice claim under that section is therefore dismissed.

        II.     Federal Retaliation Claims

        Title IX protects both employees and students at federally funded educational institutions.

 See N. Haven Bd. of Educ. v. Bell, 456 U.S. 512, 530 (1982) (“The legislative history . . .

 corroborates . . . [the] conclusion that employment discrimination comes within the prohibition

 of Title IX.”). As part of its protections, Title IX “encompasses suits for retaliation, because

 retaliation falls within the statute’s prohibition of intentional discrimination on the basis of sex.”

 Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 178 (2005).

        Plaintiffs bring retaliation claims under Title VII and Title IX, which “are governed by

 the same substantive standards . . . .” Summa v. Hofstra Univ., 708 F.3d 115, 131 (2d Cir. 2013).

 These retaliation claims are also evaluated under the McDonnell-Douglas burden-shifting

 analysis. Holcomb v. State Univ. of New York at Fredonia, 698 F. App’x 30, 31 (2d Cir. 2017).



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 To state a prima facie case, Plaintiffs must show: “(1) participation in a protected activity;

 (2) that [Defendants] knew of the protected activity; (3) an adverse employment action; and (4) a

 causal connection between the protected activity and the adverse employment action.” Hicks v.

 Baines, 593 F.3d 159, 164 (2d Cir. 2010). Defendants argue that Plaintiffs’ retaliation claims fail

 because (i) Plaintiffs did not participate in a protected activity, (ii) Plaintiffs did not suffer any

 adverse employment actions, and (iii) there was no inference of retaliatory animus. ECF No. 26

 at 24–26, 29–30. Plaintiffs respond that they engaged in protected activities by invoking their

 “constitutional right to express themselves and personalize their classroom walls and doors” and

 by complaining about the District Policies. ECF No. 41 at 24–26. They further argue they

 suffered adverse employment actions through Defendants’ actions of: (i) compelling Plaintiff

 Ecke to remove the progress flag and the pride flag; (ii) banning LGBT-related flags and

 symbols by enforcing Policy 1310; and (iii) imposing an extra burden on Ecke regarding

 permission slips. ECF No. 41 at 24.

         For the reasons discussed later in this opinion, see infra § IV.A.ii, the Court has doubts as

 to whether the activities articulated here are protected activities since it is unclear what standard

 applies to a secondary school teacher’s expressive speech in the classroom setting. However, the

 Court need not reach that issue because, even assuming arguendo that Plaintiffs’ actions

 constituted protected activities, the Court finds Plaintiffs have not adequately alleged that they

 suffered any adverse employment action.

         Unlike a discrimination claim, an adverse employment action “need not affect the terms

 and conditions of a plaintiff’s employment for purposes of a retaliation claim.” Crosby v. Stew

 Leonard’s Yonkers LLC, 695 F. Supp. 3d 551, 572 (S.D.N.Y. 2023). Instead, an adverse

 employment action is “any action that could well dissuade a reasonable worker from making or



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 supporting a charge of discrimination.” Vega, 801 F.3d at 90. And, although the Court takes

 into consideration that “[c]ontext matters” and “an act that would be immaterial in some

 situations [may be] material in others,” Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53,

 69 (2006), Plaintiffs must still show that they suffered “material adversity” because “Title VII

 does not set forth a general civility code for the American workplace,” Hicks, 593 F.3d at 165;

 see also Doe v. State Univ. of New York Purchase Coll., No. 21-cv-8417, 2024 WL 4266545, at

 *11 (S.D.N.Y. Sept. 23, 2024) (“As a general matter, Title IX is not a general civility

 code . . . .”).

          The Court finds that the actions alleged here—(i) compelling Plaintiff Ecke to remove the

 progress flag and the pride flag, (ii) banning LGBT-related flags and symbols by enforcing

 Policy 1310, and (iii) imposing an extra burden regarding permission slips on Ecke—do not

 amount to actions that would dissuade another teacher from supporting a charge of

 discrimination. As an initial matter, Plaintiffs cite to no authority, nor is the Court aware of any,

 that supports a conclusion that the aforementioned actions are “adverse” in the context of a

 federal retaliation claim. See ECF No. 41 at 24. To the extent Plaintiffs are arguing that

 Defendants’ actions amounted to a modification of Plaintiffs’ job duties, “reassignment of job

 duties is not automatically considered a materially adverse employment action.” Vasquez v.

 Yonkers Pub. Sch. Dist., No. 21-cv-4620, 2024 WL 1349227, at *6 (S.D.N.Y. Mar. 29, 2024)

 (plaintiff’s transfer and modified hours did not constitute adverse employment action), aff'd, No.

 24-1220, 2025 WL 893368 (2d Cir. Mar. 24, 2025). Indeed, courts in this Circuit have declined

 to find much more rigorous modifications to job responsibilities, such as “transfers (or denials of

 transfers) [to] amount to adverse employment actions, even in the context of a retaliation claim,

 where the action results merely in an inconvenience, such as an increased commute or



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 unfavorable hours.” Id. Likewise, in Freud v. New York City Department of Education, plaintiff

 alleged defendants retaliated against him “by failing to inform him about an upcoming field trip,

 by requiring him to go directly through an assistant principal for the classroom supplies he

 needed, by delaying the delivery of iPads for his students, and by assigning him to teach a

 remote class during the COVID-19 pandemic inside the school building rather than from home.”

 No. 22-879, 2023 WL 3103588, at *2 (2d Cir. Apr. 27, 2023). The Second Circuit affirmed the

 district court’s dismissal of the retaliation claims and held that defendants’ actions did not

 amount to more than “minor annoyances that would not dissuade a reasonable worker from

 making or supporting a charge of discrimination . . . .” Id.

        Similarly here, the Court cannot find that Defendants’ actions rise to the level of

 retaliation as a matter of law. Rather, they are similar to the type of actions the plaintiff faced in

 Freud, and are the type of “[p]etty slights or minor annoyances that often take place at work and

 that all employees experience [that] do not constitute actionable retaliation.” Hicks, 593 F.3d at

 165. Accordingly, because the Court finds that Defendants’ actions do not amount to actions

 that would dissuade another teacher from supporting a charge of discrimination, the Court finds

 Plaintiffs have failed to state a claim of retaliation under either Title VII or Title IX, and those

 claims are therefore dismissed.

        III.    Sex-Based Harassment Pursuant to Title IX

        Defendants argue that Plaintiffs’ Title IX hostile work environment claim should be

 dismissed because Plaintiffs have not met the Title VII threshold for alleging a hostile work

 environment. ECF No. 26 at 30. Plaintiffs have arguably abandoned this claim by failing to

 respond to that argument. See St. Francis Holdings, LLC v. MMP Cap., Inc., No. 20-cv-4636,

 2022 WL 991980, at *16 (E.D.N.Y. Mar. 31, 2022) (plaintiffs abandoned civil conspiracy claim



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 where they did not address defendants’ arguments to dismiss it); BYD Co. Ltd. v. VICE Media

 LLC, 531 F. Supp. 3d 810, 821 (S.D.N.Y. 2021) (Nathan, J.) (“Plaintiffs’ failure to oppose

 Defendants’ specific argument in a motion to dismiss is deemed waiver of that issue.”), aff’d,

 No. 21-1097, 2022 WL 598973 (2d Cir. Mar. 1, 2022). Although Plaintiffs refute Defendants’

 arguments about their hostile work environment claims brought under the state and county

 regulations, see ECF No. 41 at 28–29, Plaintiffs’ opposition is silent about their Title IX claims.

        Regardless, the Court agrees with Defendants that Plaintiffs have not plausibly stated a

 hostile work environment or sex-based harassment claim under Title IX. As with Plaintiffs’

 discrimination and retaliation claims, their claims for sex-based harassment are “substantively

 similar to the claims brought under Title VII.” Dikambi v. City Univ. of New York, No. 19-cv-

 9937, 2021 WL 4198252, at *5 (S.D.N.Y. Sept. 14, 2021); accord Summa, 708 F.3d at 131. To

 establish that they were subject to a hostile work environment, Plaintiffs must show “that ‘the

 workplace is permeated with discriminatory intimidation, ridicule, and insult that is sufficiently

 severe or pervasive to alter the conditions of the victim’s employment and create an abusive

 working environment.’” Littlejohn, 795 F.3d at 320–21 (quoting Harris v. Forklift Sys., Inc., 510

 U.S. 17, 21 (1993)). “The Second Circuit has held that ‘proving the existence of a hostile work

 environment involves showing both objective and subjective elements: the misconduct shown

 must be severe or pervasive enough to create an objectively hostile or abusive work

 environment, and the victim must also subjectively perceive that environment to be abusive.’”

 See LaFontant v. Mid-Hudson Forensic Psychiatric Ctr., No. 18-cv-23, 2023 WL 6610764, at *8

 (S.D.N.Y. Oct. 10, 2023) (quoting Feingold v. New York, 366 F.3d 138, 150 (2d Cir. 2004)); see

 also Levarge v. Preston Bd. of Educ., 552 F. Supp. 2d 248, 254 (D. Conn. 2008) (hostile

 educational environment claim “requires evidence not only that the victim subjectively perceived



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 the environment to be hostile or abusive, but also that the environment was objectively hostile

 and abusive, that is, that it was permeated with discriminatory intimidation, ridicule, and insult,

 that is sufficiently severe or pervasive to alter the conditions of the victim’s educational

 environment”).

        Plaintiffs’ allegations do not meet the “severe and pervasive” threshold needed to state a

 hostile work environment claim. Plaintiffs allege they were subject to sex-based harassment by

 virtue of the District Policies, and that Plaintiff Ecke was further subject to harassment by the

 increased burden of implementing and distributing the modified permission slip for the GSA

 Trip. ECF No. 14 ¶ 165. But under Title VII, “[i]ncidents must be more than ‘episodic; they

 must be sufficiently continuous and concerted in order to be deemed pervasive.’” LaFontant,

 2023 WL 6610764, at *8 (quoting Alfano v. Costello, 294 F.3d 365, 374 (2d Cir. 2002)).

 Plaintiffs’ allegations fall well short of being sufficiently continuous and concerted. Although

 Plaintiffs may have been offended by Defendants’ conduct, “[h]ostile work environment claims

 are meant to protect individuals from abuse and trauma that is severe[,] but are not intended to

 promote or enforce civility, gentility or even decency.” Maron v. Legal Aid Soc’y, 605 F. Supp.

 3d 547, 561 (S.D.N.Y. 2022). The Court finds Plaintiffs’ allegations to be too isolated and

 sporadic to rise to the level of a hostile work environment claim. Plaintiffs’ hostile work

 environment claim under Title IX is therefore dismissed.

        IV.     Constitutional Claims

        Section 1983 provides a cause of action for damages to a person whose federal rights

 were violated by state or local officials. See 42 U.S.C. § 1983. “The conduct at issue must have

 been committed by a person acting under color of state law and must have deprived a person of

 rights, privileges, or immunities secured by the Constitution or laws of the United States.”



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 Cornejo v. Bell, 592 F.3d 121, 127 (2d Cir. 2010). “A state employee acting in his official

 capacity is acting under color of state law.” Vega, 801 F.3d at 88. Public school employees who

 have input into personnel decisions also act “under color of state law.” Boncoeur v. Haverstraw-

 Stony Point Cent. Sch. Dist., No. 20-cv-10923, 2022 WL 845770, at *5 (S.D.N.Y. Mar. 22,

 2022).

          Plaintiffs allege Defendants violated their First Amendment right to free speech and

 Fourteenth Amendment right to equal protection of the law. For the reasons set forth below, the

 Court finds that dismissal is warranted as to both of these claims.

                 A.      First Amendment Claims

          “[T]he First Amendment’s protections extend to teachers and students, neither of whom

 shed their constitutional rights to freedom of speech or discretion at the schoolhouse gate.”

 Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 527 (2022). However, the speech rights of

 teachers as public employees are not so “boundless that they may deliver any message to anyone

 anytime they wish.” Id. This is because “teachers . . . are also government employees paid in

 part to speak on the government’s behalf and convey its intended messages.” Id.

          Plaintiffs allege their First Amendment rights were violated in two ways. First, they

 allege that Defendants engaged in viewpoint discrimination by enforcing the District Policies,

 which “deprived Plaintiffs of their freedom of speech on the walls and doors of classroom and

 other school facilities in which [the] District had created a limited public forum for analogous

 forms of speech.” ECF No. 14 ¶ 181; see also id. ¶ 177. Second, Plaintiffs allege Defendants

 retaliated against them for “engaging in protected speech.” Id. ¶¶ 192, 195.




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                       i.       Retaliation

        The Court addresses Plaintiffs’ retaliation claim first. “To establish First Amendment

 retaliation by a government actor, the plaintiff must demonstrate that (1) his or her speech or

 conduct was protected by the First Amendment; (2) the defendant took an adverse action against

 him or her; and (3) there was a causal connection between this adverse action and the protected

 speech.” Agosto v. N.Y.C. Dep’t of Educ., 982 F.3d 86, 94 (2d Cir. 2020). Putting aside whether

 Plaintiffs’ speech was protected by the First Amendment, the Court finds, as it has throughout

 this opinion, that Plaintiffs have not suffered any adverse action to sustain a First Amendment

 retaliation claim. “Courts in this Circuit apply in First Amendment retaliation cases a standard

 substantially similar to the one. . . for Title VII retaliation cases, considering whether the

 retaliation well might have dissuaded a reasonable worker from making or supporting a charge of

 discrimination.” Forman v. N.Y.C. Dep’t of Educ., No. 19-cv-8156, 2022 WL 912130, at *9

 (S.D.N.Y. Mar. 29, 2022); see also Manon v. Pons, 131 F. Supp. 3d 219, 232 n.8 (S.D.N.Y.

 2015) (“The standard for an ‘adverse action’ in the context of First Amendment retaliation is

 substantially similar to the same inquiry in the Title VII retaliation context.”). The adverse

 actions alleged by Plaintiffs in this context are the same adverse actions Plaintiffs alleged in the

 Title IX and Title VII retaliation contexts, see ECF No. 14 ¶¶ 150–51, 155, 194–95, 205;

 namely, that Defendants enforced the District Policies and Plaintiff Ecke was required to

 implement the modified permission slip for the GSA Trip. For the same reasons the Court found

 that these alleged adverse actions were insufficient to withstand retaliation claims under Title IX

 and Title VII, the Court also finds here that the allegations are insufficient to withstand a First

 Amendment retaliation claim.




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                      ii.       Viewpoint Discrimination

         “Viewpoint discrimination is a subset or particular instance of the more general

 phenomenon of content discrimination, in which the government targets not subject matter but

 particular views taken by speakers on a subject.” Wandering Dago, Inc. v. Destito, 879 F.3d 20,

 31 (2d Cir. 2018). “The government discriminates against viewpoints when it disfavors certain

 speech because of the specific motivating ideology or the opinion or perspective of the speaker.”

 Id. “A public employee, however, must ‘by necessity . . . accept certain limitations on his or her

 freedom,’ because, his or her speech can ‘contravene governmental policies or impair the proper

 performance of governmental functions.’” Weintraub v. Bd. of Educ. of City of New York, 593

 F.3d 196, 201 (2d Cir. 2010) (quoting Garcetti v. Ceballos, 547 U.S. 410, 418–19 (2006)). And

 with respect to teachers, their First Amendment rights must be “applied in light of the special

 characteristics of the school environment . . . .” Tinker v. Des Moines Ind. Comm. Sch. Dist., 393

 U.S. 503, 506 (1969).

                                1.     The Relevant Standards

         The parties dispute what standard applies to the speech at issue in this case. This is not

 surprising as different standards have been applied to speech made by educators in different

 contexts. See Byrd v. Middletown Bd. of Educ., No. 24-cv-207, 2024 WL 4871885, at *5 (D.

 Conn. Nov. 22, 2024) (“The Second Circuit has applied three different standards to speech made

 by educators in different contexts, and has no holdings determining what rule applies to the type

 of speech here.”); Lee-Walker v. N.Y.C. Dep’t of Educ., 220 F. Supp. 3d 484, 491 (S.D.N.Y.

 2016) (“It . . . remains an open question in this Circuit whether Garcetti applies to classroom

 instruction.”).




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        In Garcetti v. Ceballos, the Supreme Court clarified that in order to bring a First

 Amendment violation claim, a public employee must first establish that the employee spoke “as

 a citizen on a matter of public concern.” 547 U.S. at 418. If the employee was not speaking as a

 citizen on a matter of public concern, “the employee has no First Amendment cause of action

 based on his or her employer’s reaction to the speech.” Id. Employees do not speak as citizens

 for First Amendment purposes “when public employees make statements pursuant to their

 official duties . . . .” Id. at 421. On the other hand, if the employee was speaking as a citizen on

 a matter of public concern, “[t]he question becomes whether the relevant government entity had

 adequate justification for treating the employee differently from any other member of the general

 public.” Id. at 418.

        Garcetti involved a retaliation claim by a deputy district attorney who had written a

 memorandum concerning potential misrepresentations contained in an affidavit that was used to

 obtain a search warrant. 547 U.S. at 413–14. The Supreme Court determined that the memo was

 written pursuant to the deputy district attorney’s official duties, and therefore his speech was not

 protected by the First Amendment. Id. at 424. Justice Souter, in his dissent in Garcetti,

 expressed concerns about what effect the decision would have on teachers and professors. Id. at

 438 (Souter, J., dissenting) (“I have to hope that today’s majority does not mean to imperil First

 Amendment protection of academic freedom in public colleges and universities, whose teachers

 necessarily speak and write pursuant to . . . official duties.”). In response, the majority clarified

 that the decision’s reasoning did not extend to academic scholarship or classroom instruction. Id.

 at 425 (“We need not, and for that reason do not, decide whether the analysis we conduct today

 would apply in the same manner to a case involving speech related to scholarship or teaching.”).

 The Supreme Court and the Second Circuit have applied Garcetti to a school employee’s speech



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 made outside of the classroom. See Kennedy, 597 U.S. 507 (applying Garcetti to coach’s private

 speech at football game); Weintraub, 593 F.3d 196 (applying Garcetti to teacher who filed

 formal grievance with his union). Nevertheless, “[i]t . . . remains an open question in this Circuit

 whether Garcetti applies to classroom instruction.” Lee-Walker, 220 F. Supp. 3d at 491; see also

 Byrd, 2024 WL 4871885, at *5.

         The Second Circuit has likewise applied the standards articulated in Hazelwood School

 District v. Kulmeier, 484 U.S. 260 (1988), and Tinker v. Des Moines Independent Community

 School District, 393 U.S. 503 (1969), to assess whether the censorship of speech in school is

 constitutionally permissible. See Collins v. Putt, 979 F.3d 128, 132 (2d Cir. 2020); see also

 Silano v. Sag Harbor Union Free Sch. Dist., 42 F.3d 719, 723 (2d Cir. 1994) (applying

 Hazelwood to speech made by guest speaker in a public high school). If the speech constitutes a

 “school-sponsored expressive activity, then the deferential standard announced in Hazelwood

 applies.” Collins, 979 F.3d at 132. Whether speech is school-sponsored depends “on whether

 students, parents, and members of the public might reasonably perceive the speech to bear the

 imprimatur of the school.” Id. at 132–33. School-sponsored speech may be regulated so long as

 the regulations “are reasonably related to legitimate pedagogical concerns.” Hazelwood, 484

 U.S. at 273. This is based on the recognition that “the determination of what manner of speech

 in the classroom . . . is inappropriate properly rests with the school . . . rather than with the

 federal courts.” Id. at 267. On the other hand, if the speech represents personal expression that

 happens to occur on school premises, then the standard announced in Tinker applies. Collins,

 979 F.3d 133. Under Tinker, school officials may regulate non-school-sponsored speech if the

 speech “would materially and substantially disrupt classwork and discipline in the school.” Id.




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                                2.      Qualified Immunity

        Regardless of the standard applied, however, the individual Defendants are entitled to

 qualified immunity with respect to the First Amendment viewpoint discrimination claim. See

 Byrd, 2024 WL 4871885, at *4–5; Lee-Walker, 220 F. Supp. 3d at 494–95. Employees are

 entitled to qualified immunity from civil liability under Section 1983 if either (1) their conduct

 did not violate clearly established rights of which a reasonable person would have known or (2)

 it was objectively reasonable to believe that their acts did not violate these clearly established

 rights. Cornejo v. Bell, 592 F.3d 121, 128 (2d Cir. 2010). The individual Defendants in this case

 argue that their actions are entitled to qualified immunity because their conduct did not violate

 clearly established rights. The Court agrees.

        “A right is clearly established if the contours of the right are sufficiently clear that a

 reasonable official would understand that what he is doing violates that right.” McKinney v. City

 of Middletown, 49 F.4th 730, 738 (2d Cir. 2022). Although it is not required that there be “a case

 directly on point to hold that a defendant’s conduct violated a clearly established right, existing

 precedent must have placed the statutory or constitutional question beyond debate.” Id. at 739.

 As discussed previously, see supra § IV.A.ii.1, it is not clear what standard applies to the facts in

 this case as neither the Supreme Court nor the Second Circuit has decided which test would

 apply to a secondary school teacher’s expressive speech in the classroom setting. Cf. Byrd, 2024

 WL 4871885, at *4–5 (qualified immunity applied where the Second Circuit had not

 decided which test applied “when a primary or secondary school teacher is speaking allegedly

 pursuant to a district’s curriculum”); Lee-Walker, 220 F. Supp. 3d at 494 (qualified immunity

 applied because “[f]ollowing Garcetti, it remains an open question whether that case’s standard

 applies to classroom instruction”). Qualified immunity is therefore warranted because “no



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 decision . . . would put every reasonable official on notice that the conduct alleged violated a

 teacher’s First Amendment rights.” Byrd, 2024 WL 4871885, at *6. Accordingly, Plaintiffs’

 First Amendment viewpoint discrimination claim is dismissed.

                B.      Fourteenth Amendment – Equal Protection

        The Equal Protection Clause of the Fourteenth Amendment requires that the “government

 treat all similarly situated people alike.” Harlen Assocs. v. Inc. Vill. of Mineola, 273 F.3d 494,

 499 (2d Cir. 2001). “Section 1983 and the Equal Protection Clause protect public employees

 from various forms of discrimination, including . . . disparate treatment, on the basis of” a

 protected characteristic. Demoret v. Zegarelli, 451 F.3d 140, 149 (2d Cir. 2006). Plaintiffs

 allege Defendants violated the Equal Protection Clause in three ways: “(1) Defendants[] denied

 Plaintiffs the same rights and privileges the other faculty received; (2) Defendants selectively

 enforced the ban against [Plaintiffs] and not others; and (3) Defendants retaliated against them

 for their opposition to discrimination.” ECF No. 41 at 17.

                      i.        Retaliation

        The Court dismisses Plaintiffs’ retaliation claim under the Equal Protection Clause

 because it is nothing more than a restatement of Plaintiffs’ First Amendment retaliation claim.

 “Courts in the Second Circuit have dismissed equal-protection claims that merely restate First

 Amendment retaliation claims.” Best Payphones, Inc. v. Dobrin, 410 F. Supp. 3d 457, 484

 (E.D.N.Y. 2019) (citing cases); see also Schulz v. Commack Union Free Sch. Dist., 664 F. Supp.

 3d 296, 310 (E.D.N.Y. 2023) (“When a plaintiff is attempting to assert an equal protection claim

 based upon retaliation for First Amendment activity such a claim is completely duplicative of the

 First Amendment retaliation claim and, therefore, should not go forward.”). Here, Plaintiffs are

 claiming Defendants retaliated against them by virtue of implementing the District Policies and



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 burdening Plaintiff Ecke with a more robust permission slip, and that their motivation was “to

 inhibit or punish Plaintiffs from exercising their constitutional right to freedom of speech.” ECF

 No. 14 ¶ 210. Because these are the same allegations that underly Plaintiffs’ First Amendment

 retaliation claim, they are dismissed as duplicative.

                      ii.       Selective Enforcement

        Plaintiffs’ remaining claims under the Equal Protection Clause are brought pursuant to a

 selective enforcement theory. See ECF No. 41 at 17–18. “It is well-settled that to establish an

 equal protection violation on a claim of selective enforcement, the plaintiff must satisfy a two-

 prong test and prove that (1) the plaintiff, compared with others similarly situated, was

 selectively treated; and (2) that such selective treatment was based on impermissible

 considerations such as race, religion, intent to inhibit or punish the exercise of constitutional

 rights, or malicious or bad faith intent to injure a person.” J.E. ex rel. Edwards v. Ctr. Moriches

 Union Free Sch. Dist., 898 F. Supp. 2d 516, 547 (E.D.N.Y. 2012); see also Foy v. New York

 State Unified Ct. Sys., 740 F. Supp. 3d 136, 152 (E.D.N.Y. 2024) (“For a public employee to

 plead a constitutional equal protection claim, he or she must allege the existence of a similarly

 situated member of an unprotected class who was treated differently from how the plaintiff was

 treated.”). “[S]exual orientation has been held to be a basis for an equal protection claim under

 Section 1983.” Holden v. Port Auth. of N.Y. & N.J., 521 F. Supp. 3d 415, 431 (S.D.N.Y. 2021).

        “When evaluating an equal protection . . . claim . . . the first question that must be asked

 is whether the plaintiff has proffered a sufficient comparator.” Hu v. City of New York, No. 17-

 cv-2348, 2022 WL 182360, at *9 (E.D.N.Y. Jan. 20, 2022), aff’d, No. 22-cv-183, 2023 WL

 3563039 (2d Cir. May 19, 2023). “[T]he plaintiff’s and comparator’s circumstances must bear a

 reasonably close resemblance,” but “[t]hey need not, however, be identical.” Hu v. City of New



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 York, 927 F.3d 81, 96 (2d Cir. 2019). “A plaintiff can prevail by showing that she was similarly

 situated in all material respects to the individuals with whom she seeks to compare herself.” Id.

         Plaintiffs allege, as comparators, that the following categories of speech were not

 similarly restricted:

         a. Painted depictions of various flags were permitted, and even encouraged, in the
            Connetquot High School parking lot, including, but not limited to the Blue
            Lives Matter flag, a Mexican flag or a derivative of the same, a derivative of
            the American flag that included the year “1776,” and a neo-Nazi / neo-
            confederate flag;
         b. The French flag that hung in the French classroom;
         c. The acronym “MAGA,” representing . . . President Donald Trump’s campaign
            slogan “Make America Great Again,” painted in the Connetquot High School
            parking lot;
         d. Stickers displayed on classroom doors and school bulletins supporting such
            organizations as Students Against Drunk Driving, and Anti-Bullying Club;
         e. Professional sports team flags, such as the New York Rangers;
         f. A Prominent 9/11 Memorial display in the Oakdale Bohemia Middle School;
         g. Religious jewelry, such as Christian Crucifix worn by teachers, students,
            administrators, and/or other Connetquot Central School District employees.

 ECF No. 14 ¶ 106. The Court has concerns about whether these comparators are “similarly

 situated in all material respects.” First, it is unclear whether the “speakers” in many of the listed

 categories were teachers like Plaintiffs. For example, the Amended Complaint does not indicate

 who the speakers are with respect to the paintings in the parking lot, the stickers displayed on

 classroom doors, school bulletins, the professional sports team flags, and the prominent 9/11

 memorial. 6 With respect to the jewelry worn by students, teachers, and other District employees,


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        With respect to the professional sports team flag, the Amended Complaint alleges that
 Defendants did not restrict the display of professional sports team flags, but the Amended
 Complaint does not allege who exactly displayed that flag or where the flag was displayed. ECF
 No. 14 ¶¶ 106(e), 231. Although the Amended Complaint states that “other employees enjoyed
 the benefit of hanging . . . sports flags . . .” id. ¶ 231, that allegation does not indicate whether the
 employee was a teacher or whether the flags were hung in a classroom. In their opposition to
 Defendants’ motion, Plaintiffs allege that sports flags were hung by a social studies teacher.
 ECF No. 41 at 7. The Court agrees with Defendants that it cannot consider these new facts
 because “[f]acts and allegations raised for the first time in opposition papers are not properly
 considered on a motion to dismiss . . . .” Zucker v. HSBC Bank, USA, No. 17-cv-2192, 2019 WL

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 that type of expressive speech on the person is arguably different than speech that is publicly

 displayed on classroom doors and classroom walls. And finally, with respect to the French flag

 displayed in the French classroom—that type of flag was explicitly permitted under the District

 Policies. ECF No. 14-4 at 1 (“Flags that support your curriculum can remain up (i.e. Italian Flag

 in Italian Class).”).

         As highlighted above, the Court has concerns with whether the comparators listed by

 Plaintiffs are proper comparators for this analysis. However, the Court is mindful that the

 question of “whether parties are similarly situated is generally a fact-intensive inquiry that

 depends heavily on the particular context of the case at hand,” and because of this, the Second

 Circuit has “cautioned against deciding whether two comparators are similarly situated on a

 motion to dismiss.” Hu, 927 F.3d at 97. Accordingly, the Court does not reach this issue.

 Nevertheless, the Court finds that Plaintiffs’ claim fails because, even assuming arguendo that

 Plaintiffs were similarly situated to their alleged comparators in all material respects, Plaintiffs

 have not sufficiently alleged the second prong of the selective enforcement analysis—that the

 alleged selective treatment was based on impermissible considerations.

         Plaintiffs’ selective enforcement claim is fatally flawed because the Amended Complaint

 is devoid of non-conclusory factual allegations that would allow the Court to infer that

 Defendants implemented the District Policies because of Plaintiffs’ sexual orientation or for

 other impermissible motivations such as malice or ill will. Under this second element, Plaintiffs

 must allege that “the disparate treatment was caused by the impermissible motivation.”

 Anderson v. City of New York, 817 F. Supp. 2d 77, 94–95 (E.D.N.Y. 2011) (emphasis in

 original). The facts do not support that. First, in one of the emails attached to the Amended


 2903694, at *3 (E.D.N.Y. June 27, 2019). The Court therefore does not consider these new
 allegations in deciding this motion.

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 Complaint, Defendant Adams explains that the District Policies were being implemented because

 a student reported feeling uncomfortable about the pride progress flag. ECF No. 14-3 at 1. The

 email says nothing about the District Policies being implemented because of the Plaintiffs’

 sexual orientation. Id. Second, Adams explained that the District Policies were being enforced

 under previously-existing “Policy 1310,” which dictates that school employees “shall not engage

 in political activities on school premises.” Id. Further weakening any claim that Defendants

 acted with malice or ill will was their offer for Plaintiff Ecke to hang a sign that said, “This is a

 safe space to be who you are,” and Defendant Adams’ reiteration that all of the students “deserve

 a school where they are safe, comfortable and respected, regardless of what gender, religion,

 sexual orientation or political affiliation they espouse to.” Id.

        By attaching this email to the Amended Complaint, Plaintiffs plead too much and

 essentially plead themselves “out of court.” See VanBrocklen v. United States, No. 08-cv-312,

 2009 WL 819382, at *4 (N.D.N.Y. Mar. 26, 2009) (“[W]hile a plaintiff need only plead enough

 to put a defendant on notice of a plausible claim to survive a motion to dismiss, a plaintiff who

 pleads too much runs the risk of pleading himself out of court.”), on reconsideration in part,

 2010 WL 1372321 (N.D.N.Y. Apr. 7, 2010), aff’d, 410 F. App’x 378 (2d Cir. 2011); Soto v.

 Disney Severance Pay Plan, 26 F.4th 114, 120 (2d Cir. 2022) (“[W]e must dismiss a claim if a

 plaintiff plead[s] himself out of court by alleging facts which show that he has no claim.”).

 Because the Amended Complaint is devoid of any facts suggesting malice, and in fact, suggests

 the opposite, Plaintiffs’ equal protection claim based on selective enforcement must be

 dismissed. See Lilakos v. New York City, 808 F. App’x 4, 8 (2d Cir. 2020) (affirming dismissal

 of equal protection claim where complaint lacked allegations suggesting malice).




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        V.      Monell Liability

        Plaintiffs also bring a claim for Monell liability against the District and Board. ECF

 No. 14 ¶¶ 214 –22; ECF No. 41 at 26–27. “To succeed on a Monell claim, [P]laintiffs must

 demonstrate that a policy or custom of the [municipality] caused a deprivation of their federal or

 constitutional rights.” Nixon v. City of New York, 668 F. Supp. 3d 143, 152 (E.D.N.Y. 2023); see

 also Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690–91 (1978) (holding that a local

 government can only be sued under Section 1983 when execution of a government’s policy or

 custom causes injury); Frank v. Sachem Sch. Dist., 84 F. Supp. 3d 172, 193 (E.D.N.Y. 2015)

 (“[S]chool districts . . . are considered to be local governments and are subject to the same

 standards of liability as local governments under Monell.”), aff’d, 633 F. App’x 14 (2d Cir.

 2016). The elements of a Monell claim are (1) a municipal policy or custom that (2) causes the

 plaintiff to be subjected to (3) the deprivation of a constitutional right. Agosto, 982 F.3d at 97.

        “It is well-settled that a Monell claim cannot succeed without an underlying constitutional

 violation.” Mastromonaco v. Cnty. of Westchester, 779 F. App’x 49, 51 (2d Cir. 2019); Segal v.

 City of New York, 459 F.3d 207, 219 (2d Cir. 2006) (finding that a district court does not need to

 address Monell liability if it finds no underlying constitutional violation). Applying this

 standard, the Court need not consider Plaintiffs’ Monell claims. Because the Court concludes,

 see supra § IV, that Plaintiffs’ constitutional claims brought pursuant to Section 1983 fail, it

 follows that there can be no Monell liability with respect to those claims. Grytsyk v. Morales,

 527 F. Supp. 3d 639, 658 (S.D.N.Y. 2021) (“Because the Court concluded above that [plaintiff’s

 Section 1983] claims fail, it follows that there can be no municipal liability with respect to these

 claims.”). The Court therefore dismisses the Monell liability claim.




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        VI.     State and County Claims

        The Court may decline to exercise supplemental jurisdiction over state law claims where

 all claims over which it had original jurisdiction have been dismissed. See 28 U.S.C.

 § 1367(c)(3). When “all federal-law claims are eliminated before trial, the balance of factors . . .

 will point toward declining to exercise jurisdiction . . . .” Catzin v. Thank You & Good Luck

 Corp., 899 F.3d 77, 81 (2d Cir. 2018). To determine whether it is proper to decline to hear the

 state law claims, courts balance “judicial economy, convenience, fairness, and comity.” Id. “In

 the context of employment discrimination cases, courts . . . routinely decline to exercise

 supplemental jurisdiction over state- and city-law claims when the federal claims have been

 dismissed.” Munck v. Simons Found., No. 23-cv-9188, 2024 WL 4307776, at *9 (S.D.N.Y. Sept.

 26, 2024).

        Furthermore, courts may decline to exercise supplemental jurisdiction over claims that

 present novel or complex issues of state law. See 28 U.S.C. § 1367(c)(1). Here, the parties

 dispute whether this Court has jurisdiction to hear the claims brought pursuant to the Suffolk

 County Human Rights Law (“SCHRL”), or whether jurisdiction rests solely with the Suffolk

 County Human Rights Commission, see ECF No. 26 at 30–31; ECF No. 41 at 28 n.4, and this

 territory appears to be uncharted by both state and federal courts. Additionally, courts may

 decline to retain the state law claims where the claims are subject to different standards than the

 federal claims. Hansen v. City of New York, No. 24-cv-2808, 2025 WL 588119, at *9 (S.D.N.Y.

 Feb. 24, 2025) (“[T]he Court declines to exercise supplemental jurisdiction over [plaintiff’s]

 other state and local claims because they are subject to different standards and must be analyzed




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 separately.”). Here, at a minimum, some of the New York State Human Rights Law

 (“NYSHRL”) claims would be analyzed under a different standard than the federal claims. 7

        Because the Court has dismissed all federal claims in this case, and because the

 remaining state law claims would be analyzed under different and developing standards, the

 Court finds it to be in the interest of judicial economy to decline to exercise supplemental

 jurisdiction over all state law claims.

        VII.    Leave to Amend

        “A court should freely give leave when justice so requires, but it may, in its discretion,

 deny leave to amend for good reason, including futility, bad faith, undue delay, or undue

 prejudice to the opposing party.” MSP Recovery Claims, Series LLC v. Hereford Ins. Co., 66

 F.4th 77, 90–91 (2d Cir. 2023) (affirming denial of leave to amend). Plaintiffs do not seek leave

 to amend their complaint for a second time, and on that basis alone, the Court need not grant it.

 See TechnoMarine SA v. Giftports, Inc., 758 F.3d 493, 505 (2d Cir. 2014) (“A plaintiff need not

 be given leave to amend if it fails to specify . . . to the district court . . . how amendment would

 cure the pleading deficiencies in its complaint.”). Indeed, Plaintiffs have “already amended

 [their] complaint once and provided the . . . [C]ourt with no new facts in support of . . . [any]

 request for leave to amend . . . .” Zappia v. Myovant Scis. Ltd., No. 24-253-cv, 2025 WL



 7
         Historically, the NYSHRL’s liability standard was coextensive with Title VII’s, but
 recent amendments to the statute set it at a level either “identical” to or at least “closer” to the
 New York City Human Rights Law (“NYCHRL”). See Yost v. Everyrealm, Inc., 657 F. Supp.
 3d 563, 578 (S.D.N.Y. 2023). In June of 2019, New York State amended the NYSHRL, “the
 effect of which is to render the standard for claims brought under the NYSHRL closer to the
 standard under the [NYCHRL].” Passante v. Cambium Learning Grp., No. 23-cv-4060, 2024
 WL 4171026, at *5 (E.D.N.Y. Sept. 12, 2024). Accordingly, “NYSHRL discrimination claims
 accrued after August 12, 2019, must be construed liberally for the accomplishment of the
 remedial purpose of the law and should now be interpreted as rendering a standard for claims
 closer to the standard of the NYCHRL.” Meckeler v. Cornell Univ., No. 23-cv-773, 2024 WL
 3535488, at *5 (N.D.N.Y. July 25, 2024).

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 338351, at *4 (2d Cir. Jan. 30, 2025). Because Plaintiffs have “failed to specify to the . . .

 [C]ourt . . . how amendment would cure the pleadings deficient in [their] complaint,” see id. at

 *5, the Court declines to grant leave to amend.

                                           CONCLUSION

        For the reasons set forth above, the Court grants Defendants’ motion to dismiss, see ECF

 No. 26, and Plaintiffs’ claims under federal law are dismissed with prejudice. The Court

 declines to exercise supplemental jurisdiction over Plaintiffs’ state law claims, and those claims

 are dismissed without prejudice. The Clerk of Court is respectfully directed to enter judgment

 and close the case.



 SO ORDERED.

                                                        /s/ Hector Gonzalez
                                                         HECTOR GONZALEZ
                                                          United States District Judge

 Dated: Brooklyn, New York
        April 9, 2025




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